Case 1:15-cv-01045-STA-egb Document 115 Filed 06/10/16 Page 1 of 1   PageID 2823



                        UNITED STATES DISTRICT COURT
               WESTERN DISTRICT OF TENNESSEE
                     EASTERN DIVISION


 LOUIS SAIA                               JUDGMENT IN A CIVIL CASE

 v.

 FLYING J, INC.,                     CASE NO: 15-1045-A
 FJ MANAGEMENT, INC., d/b/a
 FLYING J, INC.; FLYING J. INSURANCE
 SERVICES, INC. and/or its Successor,
 THE BUCKNER COMPANY; TRANSPORTATION
 ALLIANCE BANK, INC.; TRANSPORTATION
 ALLIANCE LEASING, LLC; TAB BANK, INC.;
 TAB BANK, INC. d/b/a TRANSPORTATION
 ALLIANCE LEASING, LLC; JAGIT “J.J.” SINGH,
 STEPHEN PARKER, JOHN DOES A, B, and C
 and JANE DOES A, B, and C




 DECISION BY COURT. This action came to consideration before the
 Court. The issues have been considered and a decision has been
 rendered.


 IT IS SO ORDERED AND ADJUDGED that in accordance with the Order
 Denying Plaintiff’s Motion For Reconsideration entered on June 8,
 2016, this cause is hereby dismissed.




 APPROVED:


 s/ S. Thomas Anderson
 UNITED STATES DISTRICT COURT

 DATE: 6/10/2016                               THOMAS M. GOULD
                                          Clerk of Court


                                                 s/Terry L. Haley
                                          (By)    Deputy Clerk
